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10
                         UNITED STATES BANKRUPTCY COURT
11
                                   DISTRICT OF NEVADA
12
     In re:                                           BK-22-11249-abl
13                                                    Chapter 11 (Subchapter V)

14   NUVEDA, LLC, a Nevada limited
     liability company,
15
                                       Debtor(s)
16
     STIPULATION BY AND AMONG DEBTOR, THE CANNABIS COMPLIANCE
17            BOARD, AND THE DEPARTMENT OF TAXATION
18            This stipulation (“Stipulation”) is made by and between debtor NuVeda LLC
19 (“Debtor”), by and through its counsel, Mitchell Stipp, Esq. and Nathan A. Schultz

20 Esq., and the State of Nevada, ex rel. the Cannabis Compliance Board (“CCB”) and

21 the Department of Taxation (“DOT”), by and through their counsel of record, Attorney

22 General Aaron D. Ford, Senior Deputy Attorney General Emily N. Bordelove, Senior

23 Deputy Attorney General Ashley A. Balducci, and is predicated upon the following:

24     1.      The CCB is the regulatory body over cannabis establishments and cannabis
25 establishment agents in the State of Nevada.

26     2.      The DOT regulates, imposes, and collects taxes for doing business in the
27 State of Nevada.

28     3.      Debtor filed its petition for bankruptcy on or about April 11, 2022. This

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 1 petition enacted an automatic stay of “the commencement or continuation, including

 2 … other action or proceeding against the debtor that was or could have been

 3 commenced before the commencement of the case under this title, or to recover a

 4 claim against the debtor that arose before the commencement of the case under this

 5 title.” 11 USC § 362 (a)(1).

 6       4.     The CCB and the DOT seek to maintain their regulatory authority over

 7 cannabis establishments and cannabis establishment agents in the State of Nevada.

 8       5.     11 USC § 362(b)(4) provides exceptions to the automatic stay under

 9 subsection (a) in pertinent part:

10            (b) The filing of a petition under section 301, 302, or 303 of this title, or
              of an application under section 5(a)(3) of the Securities Investor
11            Protection Act of 1970, does not operate as a stay—
     …
12            (4) under paragraph (1), (2), (3), or (6) of subsection (a) of this section, of
              the commencement or continuation of an action or proceeding by a
13            governmental unit … to enforce such governmental unit's or
              organization's police and regulatory power, including the enforcement of
14            a judgment other than a money judgment, obtained in an action or
              proceeding by the governmental unit to enforce such governmental
15            unit’s or organization's police or regulatory power;

16       6.     The CCB agrees that, by entering into this Stipulation and upon entry by the

17 United States Bankruptcy Judge of the associated Order approving this Stipulation,

18 the CCB’s Joinder to the Motion to Dismiss [dkt. 92] and Motion for Declaratory

19 Relief [dkt. 96] shall be deemed withdrawn.

20       7.     Further, the CCB and the DOT stipulate and agree that, upon entry by the

21 United States Bankruptcy Judge of the associated Order approving this Stipulation,

22 neither will file an opposition in this case to the Debtor’s position that Debtor does

23 not own any interest in any cannabis establishments including, without, limitation,

24 Clark NMSD, LLC (“Clark NMSD”) and Nye Natural Medicinal Solutions, LLC (“Nye

25 Natural”). However, the CCB reserves all rights and remedies to take any action

26 regarding any transfers which violated Nevada laws and regulations which governed

27 the same. Similarly, the DOT reserves all rights and remedies to take any action

28 regarding any tax liabilities within the DOT’s jurisdiction and collection of the same


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 1 from any and all persons liable including, but not limited to, responsible persons

 2 pursuant to NRS 360.297 and successors pursuant to NRS 360.525.

 3     NOW, THEREFORE, Debtor, the CCB, and the DOT stipulate as follows:
 4     1. Debtor, the CCB, and the DOT have met, conferred, and agreed to stipulate

 5 that 11 U.S.C. § 362(a)’s automatic stay in this matter does not apply to any action

 6 or proceeding instituted or maintained by the State of Nevada, ex rel. Cannabis

 7 Compliance Board or the Department of Taxation involving the Debtor, Clark NMSD,

 8 or Nye Natural.

 9     2. Upon entry by the United States Bankruptcy Judge of the associated Order

10 approving this Stipulation, the CCB’s Joinder to the Motion to Dismiss [dkt. 92] and

11 Motion for Declaratory Relief [dkt. 96] shall be deemed withdrawn.

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 1    3. Further, upon entry by the United States Bankruptcy Judge of the associated

 2 Order approving this Stipulation, the CCB and the DOT stipulate and agree not to

 3 file an opposition in this case to the Debtor’s position that Debtor does not own any

 4 interest in any cannabis establishments including, without, limitation, Clark NMSD

 5 and Nye Natural. However, the CCB reserves all rights and remedies to take any

 6 action regarding any transfers by Debtor in Clark NMSD and Nye Natural that

 7 violated Nevada laws and regulations which governed the same. Similarly, the DOT

 8 reserves all rights and remedies to take any action regarding any tax liabilities within

 9 the DOT’s jurisdiction and collection of the same from any and all persons liable

10 including, but not limited to, responsible persons pursuant to NRS 360.297 and

11 successors pursuant to NRS 360.525.

12

13   DATED this 23rd day of August, 2022.         DATED this 23rd day of August, 2022

14   LAW OFFICE OF MITCHELL STIPP,                AARON D. FORD
     P.C.                                         Attorney General
15
     /s/ Mitchell Stipp
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     Las Vegas, Nevada 89144                      Senior Deputy Attorney General
18
     Co-Counsel for Debtor                        Attorneys for State of Nevada, ex rel.
19   and Debtor In Possession                     Cannabis Compliance Board and
                                                  Department of Taxation.
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